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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


 CAROLYN BALDWIN,                                              )
                                                               )
                               Plaintiff,                      )
                                                               )     CIVIL ACTION
 vs.                                                           )
                                                               )     Case No. 1:25-CV-01963
 ILIFF POINTE, L.L.C.,                                         )
                                                               )
                               Defendant.                      )


                                            COMPLAINT

        COMES NOW, CAROLYN BALDWIN, by and through the undersigned counsel, and

 files this, her Complaint against Defendant, ILIFF POINTE, L.L.C., pursuant to the Americans

 with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

 Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

 Court as follows:

                                            JURISDICTION

        1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

 ILIFF POINTE, L.L.C., failure to remove physical barriers to access and violations of Title III of

 the ADA.

                                              PARTIES

        2.      Plaintiff CAROLYN BALDWIN (hereinafter “Plaintiff”) is and has been at all

 times relevant to the instant matter, a natural person residing in Littleton, CO (Douglas County).

        3.      Plaintiff is disabled as defined by the ADA.




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         4.       Plaintiff is required to traverse in a wheelchair and is substantially limited in

 performing one or more major life activities, including but not limited to: walking, standing,

 grabbing, grasping and/or pinching.

         5.       Plaintiff uses a wheelchair for mobility purposes.

         6.       In addition to being a customer of the public accommodation on the Property,

 Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

 is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

 ensuring whether places of public accommodation are in compliance with the ADA. Her

 motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

 Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

 necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

 access identified in this Complaint are removed in order to strengthen the already existing

 standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

 numerous ADA violations on this property. (“Advocacy Purposes”).

         7.       Defendant, ILIFF POINTE, L.L.C., (hereinafter “ILIFF POINTE, L.L.C.”) is a

 domestic limited liability corporation that transacts business in the State of Colorado and within

 this judicial district.

         8.       Defendant, ILIFF POINTE, L.L.C., may be properly served with process via its

 Registered Agent for service, to wit: c/o Front Range Commercial, LLC, Registered Agent, 105

 E. Moreno, 2nd Fl., Colorado Springs, CO 80903.

                                    FACTUAL ALLEGATIONS

         9.       On or about July 6, 2024, Plaintiff was a customer at “Sudan Cafe,” a restaurant

 located at 10375 East Iliff Avenue, Denver, CO 80231, referenced herein as “Sudan Cafe”. See



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 Receipt attached as Exhibit 1. See also photo of Plaintiff attached as Exhibit 2.

        10.     Prior to July 6, 2024, Plaintiff travelled to the Property to be a customer of Sudan

 Café, but when she arrived, Sudan Café was closed.

        11.     Prior to filing the lawsuit, in 2025, Plaintiff again traveled to the Property to be a

 customer of Sudan Café, but upon arrival, she recalled the difficulties presented by the barriers to

 access and was dissuaded from returning to the Sudan Café as a customer. Soon after the

 barriers to access identified in this Complaint are removed, Plaintiff intends to return to the

 Sudan Café as a customer.

        12.     Defendant, ILIFF POINTE, L.L.C., is the owner or co-owner of the real property

 and improvements that Sudan Cafe is situated upon and that is the subject of this action,

 referenced herein as the “Property.”

        13.     Defendant, ILIFF POINTE, L.L.C., is responsible for complying with the ADA

 for both the exterior portions and interior portions of the Property. Even if there is a lease

 between Defendant, ILIFF POINTE, L.L.C., and a tenant allocating responsibilities for ADA

 compliance within the unit the tenant operates, that lease is only between the property owner and

 the tenant and does not abrogate the Defendant’s requirement to comply with the ADA for the

 entire Property it owns, including the interior portions of the Property which are public

 accommodations. See 28 CFR § 36.201(b).

        14.     Plaintiff’s access to Sudan Cafe located at 10375 East Iliff Avenue, Denver, CO

 80231, Arapahoe County Property Appraiser’s property identification numbers: 1973-27-1-01-

 024 (“the Property”), and/or full and equal enjoyment of the goods, services, foods, drinks,

 facilities, privileges, advantages and/or accommodations offered therein were denied and/or

 limited because of her disabilities, and she will be denied and/or limited in the future unless and



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 until Defendant is compelled to remove the physical barriers to access and correct the ADA

 violations that exist at the Property, including those set forth in this Complaint.

        15.     Plaintiff lives only 14 miles from the Property.

        16.     Plaintiff has visited the Property three times before as a customer and advocate

 for the disabled. Plaintiff intends to revisit the Property within six months after the barriers to

 access detailed in this Complaint are removed and the Property is accessible again. The purpose

 of the revisit is to be a return customer to Sudan Cafe, to a be a new customer at Sean’s Tavern

 to listen to live music, to determine if and when the Property is made accessible and to

 substantiate already existing standing for this lawsuit for Advocacy Purposes.

        17.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

 return customer as well as for Advocacy Purposes but does not intend to re-expose herself to the

 ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

 known to Plaintiff to have numerous and continuing barriers to access.

        18.     Plaintiff travelled to the Property as a customer three times before as a customer,

 personally encountered many barriers to access the Property that are detailed in this Complaint,

 engaged many barriers, suffered legal harm and legal injury, and will continue to suffer such

 harm and injury if all the illegal barriers to access present at the Property identified in this

 Complaint are not removed.

        19.     Although Plaintiff may not have personally encountered each and every barrier to

 access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

 to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

 advocate for the disabled within six months or sooner after the barriers to access are removed, it

 is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff



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 may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

 for example, one accessible parking space may not be available and she would need to use an

 alternative accessible parking space in the future on her subsequent visit. As such, all barriers to

 access identified in the Complaint must be removed in order to ensure Plaintiff will not be

 exposed to barriers to access and legally protected injury.

        20.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

 in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

 Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

 Congress and is historically viewed by Federal Courts as an injury in fact.

                                      COUNT I
                          VIOLATIONS OF THE ADA AND ADAAG

        21.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

 U.S.C. § 12101 et seq.

        22.     Congress found, among other things, that:

        (i)     some 43,000,000 Americans have one or more physical or mental
                disabilities, and this number is increasing as the population as a whole is
                growing older;

        (ii)    historically, society has tended to isolate and segregate individuals with
                disabilities, and, despite some improvements, such forms of discrimination
                against individuals with disabilities continue to be a serious and pervasive
                social problem;

        (iii)   discrimination against individuals with disabilities persists in such critical
                areas as employment, housing public accommodations, education,
                transportation, communication, recreation, institutionalization, health
                services, voting, and access to public services;

        (iv)    individuals with disabilities continually encounter various forms of
                discrimination, including outright intentional exclusion, the discriminatory
                effects of architectural, transportation, and communication barriers,
                overprotective rules and policies, failure to make modifications to existing
                facilities and practices, exclusionary qualification standards and criteria,


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                segregation, and relegation to lesser service, programs, activities, benefits,
                jobs, or other opportunities; and

        (v)     the continuing existence of unfair and unnecessary discrimination and
                prejudice denies people with disabilities the opportunity to compete on an
                equal basis and to pursue those opportunities for which our free society is
                justifiably famous, and costs the United States billions of dollars in
                unnecessary expenses resulting from dependency and non-productivity.

 42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

        23.     Congress explicitly stated that the purpose of the ADA was to:

        (i)     provide a clear and comprehensive national mandate for the elimination of
                discrimination against individuals with disabilities;

        (ii)    provide a clear, strong, consistent, enforceable standards addressing
                discrimination against individuals with disabilities; and

                *****

        (iv)    invoke the sweep of congressional authority, including the power to
                enforce the fourteenth amendment and to regulate commerce, in order to
                address the major areas of discrimination faced day-to-day by people with
                disabilities.

 42 U.S.C. § 12101(b)(1)(2) and (4).

        24.      The congressional legislation provided places of public accommodation one and

 a half years from the enactment of the ADA to implement its requirements.

        25.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

 1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

 § 12181; 28 C.F.R. § 36.508(a).

        26.     The Property is a public accommodation and service establishment.

        27.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

 Department of Justice and Office of Attorney General promulgated federal regulations to

 implement the requirements of the ADA. 28 C.F.R. Part 36.



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        28.     Public accommodations were required to conform to these regulations by January

 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

 $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

        29.     The Property must be, but is not, in compliance with the ADA and ADAAG.

        30.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

 her capacity as a customer at the Property and as an independent advocate for the disabled, but

 could not fully do so because of her disabilities resulting from the physical barriers to access,

 dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

 access to the Property and/or the goods, services, facilities, privileges, advantages and/or

 accommodations offered therein, including those barriers, conditions and ADA violations more

 specifically set forth in this Complaint.

        31.     Plaintiff intends to visit the Property again as a customer and as an independent

 advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

 advantages and/or accommodations commonly offered at the Property, but will be unable to fully

 do so because of her disability and the physical barriers to access, dangerous conditions and

 ADA violations that exist at the Property that preclude and/or limit her access to the Property

 and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

 therein, including those barriers, conditions and ADA violations more specifically set forth in

 this Complaint.

        32.     Defendant, ILIFF POINTE, L.L.C., has discriminated against Plaintiff (and others

 with disabilities) by denying her access to, and full and equal enjoyment of the goods, services,

 facilities, privileges, advantages and/or accommodations of the Property, as prohibited by, and

 by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).



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         33.         Defendant, ILIFF POINTE, L.L.C., will continue to discriminate against Plaintiff

 and others with disabilities unless and until Defendant, ILIFF POINTE, L.L.C., is compelled to

 remove all physical barriers that exist at the Property, including those specifically set forth

 herein, and make the Property accessible to and usable by Plaintiff and other persons with

 disabilities.

         34.         A specific list of unlawful physical barriers, dangerous conditions and ADA

 violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

 access to the Property and the full and equal enjoyment of the goods, services, facilities,

 privileges, advantages and accommodations of the Property include, but are not limited to:

 ACCESSIBLE ELEMENTS:

                   i.   In front of Concentra Urgent Care, the access aisle serving the accessible

                        parking space near Unit 6451 is not at the same level as the parking space it

                        serves in violation of Section 502.4 of the 2010 ADAAG Standards. This

                        barrier to access would make it difficult for Plaintiff to exit and enter their

                        vehicle if parked at that accessible parking space.

                 ii.    In front of Concentra Urgent Care, the access aisle serving the accessible

                        parking space near Unit 6451 has a surface slope and cross slope in excess of

                        1:48 in violation of Section 502.4 of the 2010 ADAAG Standards. This

                        barrier to access could cause Plaintiff to tip over and pose difficulties entering

                        and exiting Plaintiff’s vehicle as the landing for the van lift will be unlevel.

                 iii.   In front of Sean’s Tavern, due to an inadequate policy of parking lot

                        maintenance or a lack thereof, the two accessible parking spaces are not

                        adequately marked so as to adequately gauge the width of accessible parking



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                 spaces and the presence of an access aisle and is therefore in violation of

                 Sections 502.1 and 502.2 of the 2010 ADAAG standards. This barrier to

                 access would make it difficult for Plaintiff to locate an accessible parking

                 space and may cause other vehicles to unknowingly park in the accessible

                 parking space decreasing the available width to Plaintiff.

           iv.   In front of Sean’s Tavern, one of the accessible parking spaces is below the

                 required minimum 96-inch width and is in violation of Section 502.2 of the

                 2010 ADAAG standards. This barrier to access would make it dangerous and

                 difficult for Plaintiff to exit and enter their vehicle while parked at the

                 Property.

           v.    In front of Sean’s Tavern, due to a failure to enact a policy of proper parking

                 lot maintenance, the ground surfaces of the two accessible spaces have

                 vertical rises in excess of ¼ (one quarter) inch in height, are not stable or slip

                 resistant, have broken or unstable surfaces or otherwise fail to comply with

                 Sections 502.4, 302 and 303 of the 2010 ADAAG standards. This barrier to

                 access would make it dangerous and difficult for Plaintiff to access the units

                 of the Property.

           vi.   In front of Sean’s Tavern,, one of the two accessible parking spaces is missing

                 an identification sign in violation of Section 502.6 of the 2010 ADAAG

                 standards. This barrier to access would make it difficult for Plaintiff to locate

                 an accessible parking space.

          vii.   In front of Sean’s Tavern, due to the lack of a nearby accessible ramp, the

                 Property lacks an accessible route from the accessible parking space to the



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                  accessible entrance of the Property in violation of Section 208.3.1 of the 2010

                  ADAAG standards. This barrier to access would make it difficult for Plaintiff

                  to access the units of the Property.

          viii.   In front of Sean’s Tavern, the two accessible parking spaces do not have a

                  marked access aisle in violation of Section 502.3.3 of the 2010 ADAAG

                  standards. This barrier to access makes it nearly impossible for an individual

                  in a wheelchair to enter and exit their vehicle at this accessible parking space

                  due to the close presence of parked vehicles on either side of the accessible

                  parking space not providing enough room for the wheelchair, this eliminates

                  the accessible route from this accessible parking space.

           ix.    As a result of the barrier to access identified in (viii) above and due to the fact

                  there is no nearby accessible ramp without having to traverse a long distance

                  into the vehicular way, the two accessible parking spaces in front of Sean’s

                  Tavern are not on an accessible route in violation of Section 208.3.1 of the

                  2010 ADAAG Standards. As such, if Plaintiff were to park at either of these

                  two accessible parking spaces, she would not be able to leave her vehicle.

            x.    In front of McDonough’s, the accessible entrance has improper door hardware

                  which requires tight grasping and/or twisting of the wrist in violation of

                  Sections 309.4 and 404.2.7 of the 2010 ADAAG standards. This barrier to

                  access would make it difficult for Plaintiff to access the units of the Property.

           xi.    Inside Sudan Café, there are sales and services counters lacking any portion of

                  the counter that has a maximum height of 36 (thirty-six) inches from the

                  finished floor in violation of Section 904.4 of the 2010 ADAAG standards, all



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                  portions of the sales and service counter exceed 36 (thirty-six) inches in height

                  from the finished floor. This barrier to access would make it difficult for

                  Plaintiff to properly transact business at the Property as Plaintiff is in a

                  wheelchair which makes his height much lower than a standing individual, so

                  a surface with a maximum height of 36 inches above the finished floor is

                  necessary for Plaintiff to sign credit card receipts.

          xii.    The Property lacks an accessible route from the sidewalk to the accessible

                  entrance in violation of Section 206.2.1 of the 2010 ADAAG standards. This

                  barrier to access would make it difficult for Plaintiff to utilize public

                  transportation to access the public accommodations located on the Property.

          xiii.   Defendant fails to adhere to a policy, practice and procedure to ensure that all

                  facilities are readily accessible to and usable by disabled individuals.

  SUDAN CAFÉ RESTROOMS

          xiv.    The restroom door, when leaving, lacks a clear minimum maneuvering

                  clearance, due to the proximity of the door hardware within 18 inches to the

                  adjacent wall, in violation of Section 404.2.4 of the 2010 ADAAG standards.

                  This barrier to access would make it difficult for Plaintiff and/or any disabled

                  individual to safely utilize the restroom due to the fact individuals in

                  wheelchairs have their feet sticking out in front of them and when there is

                  inadequate clearance near the door (less than 18 inches), their protruding feet

                  block their ability to reach the door hardware to open the door.


           xv.    The door hardware providing access to the restrooms requires tight grasping

                  and twisting of the wrist in violation of Section 404.2.7 of the 2010 ADAAG


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                  standards. This barrier to access would make it difficult for Plaintiff and/or

                  any disabled individual to utilize the restroom facilities.

          xvi.    The restrooms have grab bars adjacent to the commode which are not in

                  compliance with Section 604.5 of the 2010 ADAAG standards as the side bar

                  is missing. This barrier to access would make it difficult for Plaintiff and/or

                  any disabled individual to safely transfer from the wheelchair to the toilet and

                  back to the wheelchair.

         xvii.    The distance of the centerline of the toilet is more than 18” from the side wall.

                  As a result, the toilet is not adequately positioned from the side wall or

                  partition positioning in violation of Section 604.2 of the 2010 ADAAG

                  standards. This barrier to access would make it difficult for Plaintiff and/or

                  any disabled individual to safely utilize the restroom facilities.

         xviii.   The restrooms have grab bars adjacent to the commode which are not in

                  compliance with Section 604.5.2 of the 2010 ADAAG standards as the rear

                  bar does not properly extend at least 24 inches from the centerline of the

                  toilet. This barrier to access would make it difficult for Plaintiff and/or any

                  disabled individual to safely transfer from the wheelchair to the toilet and

                  back to the wheelchair.

          xix.    The hand operated flush control is not located on the open side of the

                  accessible toilet in violation of Section 604.6 of the 2010 ADAAG standards.

                  This barrier to access would make it difficult for Plaintiff and/or any disabled

                  individual to flush the toilet as the location of the flush control on the open

                  side is significantly easier to reach than when it is positioned on the closed



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                 side.

          xx.    The toilet paper dispenser serving the accessible toilet is not positioned seven

                 to nine inches in front of the toilet and therefore is in violation of Section

                 604.7 of the 2010 ADAAG standards. This barrier to access would make it

                 difficult for Plaintiff to utilize the toilet due to the fact the toilet paper

                 dispenser is at an improper distance from the toilet, given Plaintiff’s disability,

                 Plaintiff would not be able to get up and reach the toilet paper.

          xxi.   The actionable mechanism of the paper towel dispenser in the restroom is

                 located outside the maximum prescribed vertical reach range of 48 inches

                 above the finished floor as set forth in Section 308.2.1 of the 2010 ADAAG

                 standards. This barrier to access would make it difficult for Plaintiff and/or

                 any disabled individual to reach the actionable mechanism of the paper towel

                 dispenser as individuals in wheelchairs are seated and have significantly less

                 reach range than individuals who stand up.

         xxii.   Restrooms have a vanity sink with inadequate knee and toe clearance in

                 violation of Section 306 of the 2010 ADAAG standards. This barrier to access

                 would make it difficult for Plaintiff and/or any disabled individual to utilize

                 the restroom sink as Plaintiff is seated in a wheelchair and, when seated,

                 Plaintiff’s feet and legs protrude out in front. In order to properly utilize a

                 sink, Plaintiff’s legs must be able to be underneath the surface of the sink, but

                 due to the improper configuration of the sink, there is no room underneath for

                 Plaintiff’s legs and feet.




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          xxiii.      The height of the bottom edge of the reflective surface of the mirror in the

                      bathroom is above the 40-inch maximum height permitted by Section 603.3 of

                      the 2010 ADAAG standards. This barrier to access would make it difficult for

                      the Plaintiff and/or any disabled individual to properly utilize the mirror in the

                      restroom since Plaintiff is sitting in a wheelchair and is lower than a person

                      standing up.

           xxiv.      The accessible restroom signage is not located on the latch side of the door

                      and is in violation of Section 703.4.2 of the 2010 ADAAG standards. This

                      barrier to access would make it difficult for Plaintiff and/or any disabled

                      individual to locate accessible restroom facilities.

           xxv.       Defendant has a policy of placing objects on the rear grab bar of the accessible

                      toilet so that the grab bar no longer complies with the 1 1/2-inch spacing

                      requirement set forth in Section 609.3 of the 2010 ADAAG Standards. This

                      barrier to access would make it difficult for Plaintiff and other individuals

                      with disabilities to utilize the accessible toilet safely as the grab bars are

                      blocked and/or impeded by the objects placed on or about the grab bars by

                      Defendant.

        35.        The violations enumerated above may not be a complete list of the barriers,

 conditions or violations encountered by Plaintiff and/or which exist at the Property.

        36.        Plaintiff requires an inspection of the Property in order to determine all of the

 discriminatory conditions present at the Property in violation of the ADA.




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        37.       The removal of the physical barriers, dangerous conditions and ADA violations

 alleged herein is readily achievable and can be accomplished and carried out without significant

 difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

        38.       All of the violations alleged herein are readily achievable to modify to bring the

 Property into compliance with the ADA as the modifications required to cure the barriers

 identified in paragraph 34 of this Complaint are listed within 28 C.F.R. § 36.304 as readily

 achievable.

        39.       Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable because the nature and cost of

 the modifications are relatively low.

        40.       Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable because Defendant, ILIFF

 POINTE, L.L.C., has the financial resources to make the necessary.

        41.       Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable. According to the Arapahoe

 County Property Appraiser’s Office the collective value of the Property is valued at

 $2,542,000.00.

        42.       The removal of the physical barriers and dangerous conditions present at the

 Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

 and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

 modifications.




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        43.     Upon information and good faith belief, the Property has been altered since 2010.

        44.     In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

 standards apply, and all of the alleged violations set forth herein can be modified to comply with

 the 1991 ADAAG standards.

        45.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

 reasonably anticipates that she will continue to suffer irreparable harm unless and until

 Defendant, ILIFF POINTE, L.L.C., is required to remove the physical barriers, dangerous

 conditions and ADA violations that exist at the Property, including those alleged herein.

        46.     Plaintiff’s requested relief serves the public interest.

        47.     The benefit to Plaintiff and the public of the relief outweighs any resulting

 detriment to Defendant, ILIFF POINTE, L.L.C.

        48.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

 litigation from Defendant, ILIFF POINTE, L.L.C., pursuant to 42 U.S.C. §§ 12188 and 12205.

        49.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

 injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, ILIFF

 POINTE, L.L.C., to modify the Property to the extent required by the ADA.

                WHEREFORE, Plaintiff prays as follows:

        (a)     That the Court find Defendant ILIFF POINTE, L.L.C., in violation of the ADA

                and ADAAG;

        (b)     That the Court issue a permanent injunction enjoining Defendant, ILIFF POINTE,

                L.L.C., from continuing their discriminatory practices;

        (c)     That the Court issue an Order requiring Defendant, ILIFF POINTE, L.L.C., to (i)

                remove the physical barriers to access and (ii) alter the subject Property to make it



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             readily accessible to and useable by individuals with disabilities to the extent

             required by the ADA;

       (d)   That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

             and costs; and

       (e)   That the Court grant such further relief as deemed just and equitable in light of the

             circumstances.

                                           Dated: June 24, 2025.

                                           Respectfully submitted,

                                           Law Offices of
                                           THE SCHAPIRO LAW GROUP, P.L.

                                           /s/ Douglas S. Schapiro
                                           Douglas S. Schapiro, Esq.
                                           State Bar No. 54538FL
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